              Case 5:18-cv-00081-F Document 1 Filed 01/26/18 Page 1 of 9



                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF OKLAHOMA

REINALDO LOZANO,                                 )
                                                 )
                Plaintiff,                       )
                                                 )
v.                                               )       Case No.: CIV-18-81-D
                                                 )
PAN-AMERICAN LIFE INSURANCE                      ) (Formerly Canadian County, OK
COMPANY and WEBTPA, INC.,                        ) Case No. CJ-2017-699)
                                                 )
                Defendants.                      )

                                  NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§1441 and 1446, Defendant, Pan-American Life Insurance

Company (“PALIC”), hereby removes this action from the District Court of Canadian

County, State of Oklahoma (“the State Court”) to this Court. The grounds for removal are

as follows:

       1.       Plaintiff commenced this action on November 27, 2017 by filing a Petition

against the Defendants in the District Court of Canadian County, State of Oklahoma, Case

No. CJ-2017-699, styled Reinaldo Lozano, Plaintiff, v. Pan-American Life Insurance Company and

WebTPA Inc, Defendants (the “Lawsuit” or the “action”).

       2.       In his Petition, Plaintiff asserts various contract and tort claims under

Oklahoma law.

       3.       Removal to this District is proper under 28 U.S.C. §§116(c), 1441, and 1446.

                                         Jurisdiction

       4.       As more fully set forth below, this is a civil action where the matter in

controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs, and is
              Case 5:18-cv-00081-F Document 1 Filed 01/26/18 Page 2 of 9



between citizens of different States. Federal jurisdiction therefore exists under 28 U.S.C.

§1332. Removal is proper under the federal removal statutes including 28 U.S.C. §1441,

§1446.

                                         Citizenship

         5.     Plaintiff’s Petition ¶ 1 alleges that he is a resident of El Reno, Oklahoma,

which is located in Canadian County, Oklahoma. Upon information and belief, at all times

from the filing of this action through and including the present, Plaintiff is and has been a

resident of Canadian County and of the State of Oklahoma. Plaintiff is not and has not been

a resident of the States of Louisiana nor Texas. Plaintiff is therefore considered a citizen of

the State of Oklahoma, and not the States of Louisiana nor Texas, for purposes of diversity

jurisdiction under 28 U.S.C. §1332 and the federal removal statutes.

         6.     At all times from the filing of this action through and including the present,

the following is and has been true. PALIC is and has been a corporation duly organized and

existing under the laws of the State of Louisiana, with its principal place of business in the

State of Louisiana. PALIC’s headquarters is in New Orleans, Louisiana. PALIC’s high level

officers directing, controlling, and coordinating its business activities in the State of

Louisiana and in no other State including Oklahoma. PALIC’s “nerve center” is therefore

located in Louisiana and in no other State including Oklahoma. PALIC has not been

incorporated under the laws of the State of Oklahoma, it does not have a principal place of

business in the State of Oklahoma, and its high level officers do not direct, control, or

coordinate its business activities in the State of Oklahoma. PALIC is therefore considered a




                                              -2-
            Case 5:18-cv-00081-F Document 1 Filed 01/26/18 Page 3 of 9



citizen of the State of Louisiana, and not Oklahoma, for purposes of diversity jurisdiction

under 28 U.S.C. § 1332(c)(1) and the federal removal statutes. (See generally Petition ¶ 2).

       7.      At all times from the filing of this action through and including the present,

the following is and has been true. WebTPA is and has been a corporation duly organized

and existing under the laws of the State of Texas, with its principal place of business in the

State of Texas. WebTPA’s headquarters is in Texas. WebTPA’s high level officers directing,

controlling, and coordinating its business activities in the State of Texas and in no other

State including Oklahoma. WebTPA’s “nerve center” is therefore located in Texas and in

no other State including Oklahoma. WebTPA has not been incorporated under the laws of

the State of Oklahoma, it does not have a principal place of business in the State of

Oklahoma, and its high level officers do not direct, control, or coordinate its business

activities in the State of Oklahoma. WebTPA is therefore considered a citizen of the State

of Texas, and not Oklahoma, for purposes of diversity jurisdiction under 28 U.S.C.

§1332(c)(1) and the federal removal statutes. (See generally Petition ¶ 3).

                                    Amount in Controversy

       8.      As contemplated by 12 Okla. Stat. 2008(A)(2), Plaintiff’s Petition demands

tort, contractual and punitive damages against both defendants in excess of the amount

required for diversity jurisdiction under 28 U.S.C. §1332. (Petition, ¶¶ 23, 31, 41, final).

       9.      Additionally and separately, Plaintiff’s Petition ¶¶ 11, 12, alleges that claims

were submitted on Plaintiff’s behalf in the amounts of $45,194.25 (¶ 11), and $58,955 (¶12),

for a total of $104,149.25 (the explanations of benefits (“EOBs”) and other documents

described in the Petition are adopted and incorporated herein, but are not attached since



                                                -3-
             Case 5:18-cv-00081-F Document 1 Filed 01/26/18 Page 4 of 9



they contain information that is protected by the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”), 45 CFR Part 160 and Part 164, Subparts A and C,

and other state and federal laws and regulations).          The Petition further alleges that

Defendants have not paid the claims for the Plaintiff.           Plaintiff is therefore seeking

contractual damages against both Defendants in an amount of at least $104,149.25, exclusive

of interest and costs.

       10.     Additionally and separately, as contemplated by 12 Okla. Stat. 2008(A)(2),

Plaintiff’s Petition ¶ 23, expressly asserts that “As a direct and proximate result of

Defendant’s breach of the insurance contract, Plaintiff has suffered damages in excess of the

amount required for diversity jurisdiction pursuant to 28 U.S.C. § 1332, with interest, costs, a

reasonable attorney fee, and such other relief as may be just and equitable.” Plaintiff is

seeking contractual damages against both Defendants in an amount in excess of $75,000,

exclusive of interest and costs.

       11.     Additionally and separately, as contemplated by 12 Okla. Stat. 2008(A)(2),

Plaintiff’s Petition ¶ 31, expressly asserts that “As a result PALIC’s breach of its duty to deal

fairly and in good faith, Plaintiff suffered damages in excess of the amount required for

diversity jurisdiction pursuant to 28 U.S.C. § 1332, with interest, costs, a reasonable attorney

fee, and such other relief as may be just and equitable.” Plaintiff is seeking an unspecified

amount of tort damages against PALIC in an amount in excess of $75,000, exclusive of

interest and costs.

       12.     Additionally and separately, as contemplated by 12 Okla. Stat. 2008(A)(2),

Plaintiff’s Petition ¶ 41, expressly asserts “As a result WebTPA’s breach of its duty to deal



                                               -4-
             Case 5:18-cv-00081-F Document 1 Filed 01/26/18 Page 5 of 9



fairly and in good faith, Plaintiff suffered damages in excess of the amount required for

diversity jurisdiction pursuant to 28 U.S.C. §1332, with interest, costs, a reasonable attorney

fee, and such other relief as may be just and equitable.” Plaintiff is seeking an unspecified

amount of tort damages against WebTPA in an amount in excess of $75,000, exclusive of

interest and costs.

       13.     Additionally and separately, as contemplated by 12 Okla. Stat. 2008(A)(2),

utilizing the language for Category II punitive damages under 23 Okla. Stat. §9.1(C),

Plaintiff’s Petition ¶¶ 32, 33, alleges an intentional and malicious breach of the duty of good

faith and fair dealing by PALIC, and seeks an unspecified amount of punitive damages for

the alleged breach. Plaintiff is thus seeking the maximum allowable amount of punitive

damages against PALIC of the greatest of Five Hundred Thousand Dollars ($500,000.00), or

twice the amount of actual damages (i.e., twice the amount required for diversity jurisdiction

under 28 U.S.C. §1332, which is $150,000 or more). Plaintiff is seeking punitive damages

against PALIC in an amount in excess of $75,000, exclusive of interest and costs.

       14.     Additionally and separately, as contemplated by 12 Okla. Stat. 2008(A)(2),

utilizing the language for Category II punitive damages under 23 Okla. Stat. §9.1(C),

Plaintiff’s Petition ¶¶ 42, 43, alleges an intentional and malicious breach of the duty of good

faith and fair dealing by WebTPA, and seeks an unspecified amount of punitive damages for

the alleged breach. Plaintiff is thus seeking the maximum allowable amount of punitive

damages against WebTPA of the greatest of Five Hundred Thousand Dollars ($500,000.00),

or twice the amount of actual damages (i.e., twice the amount required for diversity




                                              -5-
                Case 5:18-cv-00081-F Document 1 Filed 01/26/18 Page 6 of 9



jurisdiction under 28 U.S.C. §1332, which is $150,000 or more). Plaintiff is seeking punitive

damages against WebTPA in an amount in excess of $75,000, exclusive of interest and costs.

          15.     Additionally and separately, as contemplated by 12 Okla. Stat. 2008(A)(2), the

final paragraph of Plaintiff’s Petition, pp. 10-11, expressly asserts “WHEREFORE, Plaintiff

Reinaldo Lozano prays for judgment against Defendant Pan-American Life Insurance

Company and Defendant WEB-TPA, Inc. for an amount in excess of the amount required

for diversity jurisdiction pursuant to 28 U.S.C. §1332, together with costs, interest,

reasonable attorney fees, and other relief which this Court deems just and equitable.”

Plaintiff is seeking an unspecified amount of tort, contract, and punitive damages against

both Defendants in an amount in excess of $75,000, exclusive of interest and costs.

          16.     The entire matter in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs.

                                   Process, Pleadings, Orders

          17.     A copy of the Canadian County docket sheet in the Lawsuit, printed from the

Oklahoma Supreme Court Network (OSCN), is attached as Exhibit 1, and made a part

hereof.

          18.     A file-stamped copy of Plaintiff’s Petition in the Lawsuit, printed from OSCN,

is submitted herewith as Exhibit 2, and made a part hereof.

          19.     As shown in Exhibit 1, the Canadian County court records do not contain

returns of service, and do not reflect that summonses have been issued, or that summons, a

file-stamped petition, process, pleadings or orders have been served on either of the

Defendants.



                                                -6-
             Case 5:18-cv-00081-F Document 1 Filed 01/26/18 Page 7 of 9



       20.        No process, summons, pleadings, orders, and/or other documents in the

Lawsuit have been served on Defendants.

       21.        No process, summons, pleadings, orders, and/or other documents in the

Lawsuit are submitted with this Notice of Removal since none have been filed, issued, or

served on Defendants.

                                    Timeliness of Removal

       22.        The Lawsuit was commenced on November 27, 2017, on which date Plaintiff

filed his Petition in this action with the State Court.

       23.        Under 28 U.S.C. §1146(c)(1), Defendants have one year from November 27,

2017 (the date of the commencement of the Lawsuit) to remove it on the basis of diversity

of citizenship.

       24.        Since neither Defendant has been served with a summons, or process, their

deadline(s) to remove has not been triggered. See, e.g., Murphy Brothers, Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344, 347-48 (1999) (holding that “a named defendant’s time to

remove is triggered by simultaneous service of the summons and complaint, or receipt of the

complaint, ‘through service or otherwise,’ after and apart from service of the summons, but

not by mere receipt of the complaint unattended by any formal service”).

       25.        This notice of removal is therefore timely filed under the provisions of 28

U.S.C. § 1446, and this action is removed under 28 U.S.C. §§ 1441-1448.

                                     Unserved Defendant

       26.        Since WebTPA has not been served with a summons or petition, PALIC can

remove this action without the joinder or consent of WebTPA. See 28 U.S.C. §1446(b)(2).



                                                -7-
             Case 5:18-cv-00081-F Document 1 Filed 01/26/18 Page 8 of 9



       27.     Even if WebTPA has been served with a summons or petition, PALIC can

nevertheless independently remove this action under 28 U.S.C. §1446(b)(2).

       28.     Defendants therefore remove this action from the District Court of Canadian

County, Oklahoma, to the United States District Court for the Western District of

Oklahoma.

                                          Respectfully submitted,



                                          s/Mark D. Spencer
                                          Mark D. Spencer, OBA #12493
                                          MCAFEE & TAFT
                                          Two Leadership Square, Tenth Floor
                                          211 North Robinson
                                          Oklahoma City, Oklahoma 73102
                                          Telephone: (405) 552-2368
                                          Facsimile: (405) 228-7368
                                          E-mail: mark.spencer@mcafeetaft.com

                                          COUNSEL FOR DEFENDANT PAN-
                                          AMERICAN LIFE INSURANCE
                                          COMPANY




                                            -8-
           Case 5:18-cv-00081-F Document 1 Filed 01/26/18 Page 9 of 9



                             CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of January, 2018, a true and correct copy of the
foregoing was mailed, first class, postage prepaid, to:

                                   Simone Gosnell Fulmer
                                   Harrison Lujan
                                   Jacob L. Rowe
                                   Andrea R. Rust
                                   Fulmer Group PLLC
                                   P.O. Box 2448
                                   Oklahoma City, Ok 73101

      I further certify that a copy of this Notice of Removal will be hand-delivered on this
same date for filing with the Clerk of the District Court of Canadian County, State of
Oklahoma.


                                                   s/ Mark D. Spencer
                                                   Mark D. Spencer




                                             -9-
